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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                      Plaintiff-Respondent,
v.                                                     No. 98-cr-986 MCA

DANIEL TARANGO,

                      Defendant-Petitioner.

            ORDER DENYING PETITION FOR WRIT OF CORAM NOBIS

          THIS MATTER is before the Court on Defendant-Petitioner Daniel Tarango’s

Emergency Petition for a Writ of Error Coram Nobis, filed with the Court on September

23, 2015. [Doc. 77] On November 23, 2015, the Court ordered the Government to

respond on or before December 3, 2015. [Doc. 80] The Government never responded.

The Court considers Defendant-Petitioner’s petition on its merits.

     I.      Background

          In 1999, Defendant-Petitioner pled guilty in this court to a drug trafficking

offense. He was sentenced to 46 months of incarceration and was ultimately deported in

2002. [Doc. 77 at 8; Doc 77-3] According to Defendant-Petitioner, defense counsel who

represented him in negotiating and entering his plea advised him that although he would

be deported as a result of his conviction, he could reenter the United States after ten

years. [Doc. 77 at 3] Defendant-Petitioner asserts that based on defense counsel’s advice

he accepted the plea. [Doc. 77 at 3] Also based on that advice, Defendant-Petitioner

remained outside the United States for ten years and reentered in 2013. [Doc. 77 at 5]


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Defendant-Petitioner was subsequently arrested for “Reentry of a Removed Alien,” in

violation of 8 U.S.C §§ 1326(a) and (b), and is currently pending trial in that matter. See

United States v. Tarango, 15-cr-3551 MCA. He argues that because of defense counsel’s

incorrect advice regarding his eligibility to reenter the country, he is now facing another

federal sentence and deportation. [Doc. 77 at 7] Defendant-Petitioner asserts that had he

known that he would never be eligible to reenter the United States, he would never have

signed the plea. [Doc. 77 at 9]

        Defendant moves the Court for a writ of coram nobis and requests the Court

vacate and set aside his conviction in this case in its entirety, expunge and seal all records

of the related arrest, indictment and conviction, and grant other relief as the Court deems

just, equitable, and proper. [Doc. 77 at 12] Defendant’s “central argument” is that he

“received ineffective assistance of counsel contrary to the Sixth Amendment . . . when

Defense Counsel not only coerced him into taking a plea without reviewing or discussing

his defenses and/or the evidence against him but also gave Defendant-Petitioner false

information regarding the implications of reentering the United States.” [Doc. 77 at 6].

Defendant-Petitioner also argues that his plea was coerced and that his counsel was

laboring under a conflict of interest. [Doc. 77 at 10]

   I.      Writ of Coram Nobis

        Defendant-Petitioner brings this action pursuant to the All Writs Act, 28 U.S.C. §

1651, which confers on the federal courts the authority to grant a writ of coram nobis.

United States v. Denedo, 556 U.S. 904, 911 (2009). “A petition for a writ of coram nobis

provides a way to collaterally attack a criminal conviction for a person . . . who is no

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longer ‘in custody’ and therefore cannot seek habeas relief under 28 U.S.C. § 2255.”

Chaidez v. United States, 133 S.Ct. 1103, 1106 n. 1 (2013). It is used “to attack a

judgment that was infirm at the time it issued, for reasons that later came to light,” United

States v. Torres, 282 F.3d 1241, 1254 n. 6 (10th Cir. 2002) (brackets and citation

omitted), and which has continuing consequences. See United State v. Morgan, 346 U.S.

502, 512 (1954). A writ of coram nobis is an “extraordinary remedy,” only available in

“‘extraordinary’ cases presenting circumstances compelling its use ‘to achieve justice.’”

Denedo, 556 U.S. at 911 (quoting Morgan, 346 U.S. at 511).

   II.      The rule established in Padilla v. Kentucky cannot be applied retroactively,
            thus, even taking Defendant-Petitioner’s allegations as true, Padilla does
            not provide him with relief.

         Defendant-Petitioner asks this Court to apply Padilla v. Kentucky, 559 U.S. 356

(2010) and conclude that defense counsel was ineffective for failing to provide correct

advice regarding the immigration consequences of his plea. In Padilla, the Supreme

Court “held that criminal defense attorneys must inform non-citizen clients of the risks of

deportation arising from guilty pleas.” Chaidez 133 S.Ct. at 1106; Padilla, 559 U.S. at

368-69. Failing to do so where the law is clear, and failing to at least advise the client

that there may be adverse immigration consequences where the law is less clear, rises to

ineffective assistance of counsel. Padilla, 559 U.S. at 368-69. Here, there is no dispute

that Defendant-Petitioner’s counsel advised him that he would be deported as a result of

his conviction.     Defendant-Petitioner’s contention is that counsel gave Defendant-

Petitioner incorrect advice regarding the consequences of his conviction for reentry –



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specifically defense counsel advised him that he could reenter after ten years when in

actuality Defendant-Petitioner is ineligible for reentry.

       Even assuming arguendo that Defendant-Petitioner’s allegations are true,

considering them for these purposes to fall within the ambit of what Padilla requires of

defense counsel, and assuming the other requirements for a writ of coram nobis are met,

the Court cannot apply Padilla. In Chaidez, the Supreme Court confirmed what our

Tenth Circuit already held in United States v. Chang Hong, 671 F.3d 1147 (10th Cir.

2011): that the rule announced in “Padilla does not have a retroactive effect.” Chaidez,

133 S.Ct. at 1105; Chang Hong, 671 F.3d at 1159 (“Padilla is a new rule of constitutional

law but does not apply retroactively to cases on collateral review.”). Because Padilla

announced a new rule, a person like Defendant-Petitioner, whose conviction became final

prior to the decision, cannot benefit from it. Chaidez, 133 S.Ct. at 1107.

       Defendant-Petitioner acknowledges Chang Hong, and attempts to distinguish his

case from it by pointing to the fact that while he is out of custody (for the purposes of the

underlying conviction), the defendant in Chang Hong filed his § 2255 petition while in

custody. [Doc. 77 at 6] This distinction does not make a difference. Chaidez itself is a

coram nobis case and Padilla could not be applied there. See also Ufele v. United States,

825 F. Supp. 2d 193 (D.D.C. 2011) (pre-Chaidez coram nobis case holding Padilla did

not apply retroactively); Gudiel-Soto v. United States, 761 F. Supp. 2d 234 (D. N.J. 2011)

(pre-Chaidez coram nobis case holding Padilla did not apply retroactively where

petitioner who had a prior conviction left the United States on vacation and was barred

from re-entering as a result of his guilty plea).

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       Defendant-Petitioner’s contested conviction became final in 1999, well before our

Supreme Court decided Padilla. For that reason, the Court holds that Padilla cannot

provide Defendant-Petitioner with relief. Chaidez, 133 S.Ct. at 1107.

   III.     Defendant-Petitioner fails to show that relief under § 2255 was unavailable
            or would have been inadequate with respect to his other post-conviction
            claims.

       In addition to Defendant-Petitioner’s assertion that his counsel was ineffective

under Padilla, Defendant-Petitioner raises claims regarding the ineffectiveness of his

counsel and the invalidity of his plea.   A petitioner seeking a writ of coram nobis must

show that relief under § 2255 was unavailable or would have been inadequate. United

States v. Payne, 644 F.3d 1111, 1112 (10th Cir. 2011); United States v. Vasquez, 515

Fed. Appx. 757, 758 (10th Cir. 2013) (unpublished) (holding defendant who failed to

show he could not have raised his claims in a habeas corpus petition “may not challenge

his conviction or sentence through a writ of coram nobis.”). Additionally, a prerequisite

for coram nobis relief is that a petitioner “exercise due diligence in seeking the writ.”

United States v. Klein, 880 F.2d 250, 254 (10th Cir. 1989); Matus-Leva v. United States,

287 F.3d 758, 760 (9th Cir. 2002) (a petitioner must show “valid reasons exist for not

attacking the conviction earlier.”). Defendant-Petitioner has not met these requirements.

       Defendant-Petitioner asserts that his plea was “unknowing and involuntary” and

defense counsel was ineffective because he only recalls speaking with defense counsel

once by phone and briefly in court prior to entering his plea; defense counsel never

discussed the evidence or possible defenses with him; defense counsel never sent

Defendant-Petitioner discovery or reviewed discovery with him; and defense counsel

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failed to do any investigation. [Doc. 77 at 9] Defendant-petitioner’s wife was charged in

the same case.          He asserts that defense counsel explained that her case would be

dismissed if Defendant-Petitioner entered the agreement. [Doc. 77 at 9] He argues that

the promise of leniency for his wife coerced him into entering into the agreement. He

also argues that defense counsel later represented Defendant-Petitioner’s brother-in-law

in 2002 in a related case, and this is evidence that defense counsel was laboring under a

conflict of interest. [Doc. 77 at 10] Finally, Defendant-Petitioner contends that his plea

was involuntary because defense counsel promised that he would be sentenced to 36

months, but he was actually sentenced to 46 months of incarceration and three years of

supervised release. [Doc. 77 at 2, 10-11]

         With respect to the immigration consequences of his conviction, Defendant-

Petitioner offered an explanation for why he could not have pursued his Padilla claim

through habeas proceedings or sought a writ earlier: he did not know of the error until he

reentered the United States and was subsequently charged with the crime of illegal

reentry of a removed alien.                 In contrast, Defendant-Petitioner does not offer any

explanation as to why he could not have raised these other claims pursuant § 2255 other

than that he was unaware of the remedy.1 Having failed to show that he could not have

sought relief under § 2255, Defendant-Petitioner may not challenge his conviction

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           At the beginning of his brief, Defendant-Petitioner states generally that he did not file a habeas petition
“because he was unaware of this right and, at the time, did not realize that he had a valid reason for filing such a
petition.” [Doc. 77 at 5] First, because Defendant-Petitioner specifically explains that he was unaware of the
alleged error with regard to his Padilla argument, the Court understands this statement to go to that issue. Even if
the Court were to apply this statement to the case in its entirety, this reason is not sufficient to show that habeas
relief was unavailable or inadequate. See Prost v. Anderson, 636 F.3d 578, 589 (10th Cir. 2011) (explaining that
failure to use § 2255 does not make the remedy inadequate or ineffective); Marsh v. Soares, 223 F.3d 1217, 1220
(10th Cir. 2000) (“it is well established that ignorance of the law, even for an incarcerated pro se petitioner, does not
excuse prompt filing.” (internal quotation marks and citation omitted)).

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through a writ of coram nobis. Payne, 644 F.3d at 1113; Vasquez, 515 Fed. Appx. at

758. Similarly, Defendant-Petitioner does not show that he was diligent in pursuing the

writ and thus does not meet this prerequisite to relief. Klein, 880 F.2d at 254.

       For the foregoing reasons, the Court DENIES Defendant-Petitioner’s Emergency

Petition for Writ of Error Coram Nobis [Doc. 77].

                                   IT IS SO ORDERED this 8th of January, 2016.



                                   M. CHRISTINA ARMIJO
                                   Chief United States District Court Judge




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